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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                               CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

                 Debtor                                        CHAPTER 11



                        REPLY TO LOGISTIC SYSTEMS, INC.’S OBJECTION
                       TO FINAL APPROVAL OF DISCLOSURE STATEMENT

        TO THE HONORABLE COURT:

                 Comes now Debtor through its undersigned counsel and very respectfully states and

        prays:

                 1.    On September 12, 2018, Debtor filed its voluntary petition for reorganization

        under the provisions of Chapter 11 of the Bankruptcy Code, and as of that date has been

        operating its business and managing its affairs as a debtor in possession, as provided for in

        the Bankruptcy Code. See Docket No. 1.

                 2.    On January 16, 2019, Debtor filed its Disclosure Statement and Plan of

        Reorganization. See Docket Nos. 91 and 92.

                 3.    On January 23, 2019, this Court entered an order conditionally approving

        Debtor’s Disclosure Statement. See Docket No. 97.

                 4.    On March 15, 2019, Logistic Systems, Inc. (“Logistics”) filed an objection

        to the approval of Debtor’s Disclosure Statement. See Docket No. 130

                 5.    Debtor will proceed to refute all the allegations contained in the objection


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        filed by Logistics in the same order as these were raised.

        I.        THE DEBTOR’S LIQUIDATION ANALYSIS IS INSUFFICIENT

                  6.       Logistics alleges that Debtor’s liquidation analysis is “insufficient” because

        it allegedly did not include alleged preferential transfers. The allegation of preferential

        transfer was previously made by Logistics via email to the undersigned counsel. Said

        email was properly answered as follows:

                           “First, in order for a debtor to recover any alleged preferential payments, it must
                           prove several factors. One of said factors is that the payment was for or on
                           account of a past-due debt owed by the debtor before the payment was made.
                           The majority of the payments made within the 90 days before the bankruptcy
                           filing were made only when the debt became due; and as such said debts were
                           not past-due. Another factor that be proven is that the payments were made
                           while the debtor was insolvent. Although the Bankruptcy Code provides an
                           inference that the debtor is insolvent during the 90 days prior to filing a
                           bankruptcy petition, in the instant case the debtor was solvent and as such all
                           such payments cannot be recovered. See Silverman Consulting, Inc. v. Hitachi
                           Power Tools, U.S.A. (In re Payless Cashways, Inc.), 290 B.R. 689 (Bank. W.D.
                           Mo. 2003) and Heilig-Meyers Co. vs. Wachovia Bank NA (In re Heilig-Meyers
                           Co.) 328 B.R. 471 (E.D. Va. 2005).

                           Furthermore, even assuming, in arguendo, that the payments were made for
                           past-due debts while the Debtor was insolvent, the payments could not be
                           recovered insofar as they were made in the ordinary course of business. A mere
                           glimpse into Debtor’s records and modus operandi with all its creditors, including
                           Logistics, shows that Debtor has always paid its creditors when it receives
                           payments from the government’s contracts. As such, all payments were made in
                           Debtor’s ordinary course of business.

                           In summary, there are no preferential transfers in the subject case insofar as all
                           payments made by Debtor within the 90 days before the bankruptcy filing were
                           made while Debtor was solvent, were for debts that were not past-due, and/or
                           were made in the ordinary course of business.”

                  7.       As explained therein, there are no preferential transfers that Debtor could

        assert.        As such, no inclusion was warranted in the disclosure statement and/or the

        liquidation analysis.

                  8.       However, what is really troubling is the false allegation made by Logistics



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        Logistics at Page 7 of its motion regarding the payment or payments that were allegedly

        not disclosed by Debtor. In a feeble attempt to prove its allegation, Logistics includes as

        an exhibit the pages of the monthly operating report for September 2018 wherein it

        alleges that a payment in the amount of $166,666 was made and not disclosed in the

        statement of financial affairs.   However, in the very same page wherein the alleged

        payment is listed, a credit for the same amount is also listed.       The explanation is

        obvious, the check was initially printed by mistake and was then voided. As such, the

        check is listed but the credit is also listed.     A copy of the relevant pages of the

        reconciliation of the checking account with the items highlighted is attached hereto as

        well as a copy of the voided check. The question now is: how is it even possible that

        Logistics “independently confirmed” (see Paragraph 21 at Page 7 of Logistics’ motion)

        that said payment was made when in fact it was never made? These false statements,

        which are made in a clear effort to muddy the waters, should not only be stricken from

        the record but sanctioned by this Court.

               9.     In a further effort to try to discredit Debtor, Logistics submits a list of

        payments made to Debtor’s insiders, all of which were duly disclosed in the statement of

        financial affairs. All of said payments are part of the insiders’ compensation package as

        thoroughly discussed not only in the 341 Meeting of Creditors but also in the Rule 2004

        Examination that was conducted by Logistics. There is no evidence whatsoever that said

        payments were illegal and/or unwarranted.         But Logistics does not stop there, it

        continues to submits innuendos in an effort to muddy the waters by alleging that

        payments were made “on account of the personal credit cards of the Debtor’s officers”.

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        officers”. This truly exemplifies the bad faith in Logistics’ arguments. Debtor proceeded

        to respond a request for production of documents made by Logistics after the 341

        Meeting wherein Debtor produce the documental evidence to prove that all the charges

        that were made in said credit cards were attributable to Debtor for purchases and

        expenses. Logistics’ silence regarding the abundant evidence that they have in their

        possession speaks volumes as to their true intention.

               10.    In summary, there are no potentially avoidance actions to disclose and/or

        to include in Debtor’s disclosure statement.

               11.    Lastly, Logistics alleges that Debtor’s Disclosure Statement does not

        provide adequate information about the valuations of its assets.         Debtor directs the

        Court to the Liquidation Analysis included as Exhibit E of the Disclosure Statement.

        The same is not only comprehensive but goes far beyond the typical liquidation analysis.

        Simply put, Logistics’ allegation is not only legally groundless but factually false.

        II.    THE DISCLOSURE STATEMENT LACKS ADEQUATE INFORMATION

        ABOUT FEASIBILITY

               12.    It suffices to say that feasibility is a confirmation issue and not a disclosure

        issue. As such, this allegation will be addressed in the reply to the objection to the

        confirmation of Debtor’s plan.

               13.    Notwithstanding the aforementioned, it must be clarified that Debtor had

        no nonresidential real estate leases to assume insofar as the only two leases of such

        nature are month to month leases as duly disclosed in the schedules and thoroughly

        discussed in the 341 Meeting of Creditors.

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        III.   THE DISCLOSURE STATEMENT LACKS ADEQUATE INFORMATION

        ABOUT THE CLASSIFICATION AND TREATMENT OF CLAIMS

               14.    The fist allegation in this sub-section of Logistics’ motion is regarding the

        deadline to object claims. As disclosed in the Disclosure Statement, said deadline was

        30 days before the confirmation hearing. Since said period elapsed already, if Debtor

        wants to file an objection to claim, it must request leave from the Court. However, all

        creditors that had a contingent claim have a fiduciary duty to amend its claim upon the

        same becoming an allowed final claim.        Debtor complied with its duty to disclose a

        deadline to file objections to claims and as such no further disclosure is needed.

               15.    Regarding the details of the collateral held by Oriental Bank, the

        disclosure statement provided the correct description.        This is a fact well known by

        Logistics, who is the only entity objecting to the use of cash collateral.

               16.    Lastly, and as in all bankruptcy cases, the executory contracts are placed in

        a separate class because they are of a different nature than the general unsecured

        claims. In order for the Debtor to be able to assume an executory contract it must cure

        all pre-petition arrears. As such, this is one of the exemptions in the Bankruptcy Code

        for a debtor to pay pre-petition claims. In the instant case, Debtor will cure all pre-

        petition defaults upon the confirmation of its plan as detailed in the Disclosure

        Statement.    All payments to be made are to cure the pre-petition claims of said

        claimants. A mere glimpse at the proof of claims filed in the captioned case shows that

        said claimants have pre-petition claims against the Debtor.




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              WHEREFORE, Debtor respectfully requests that this Court denies the objection

        to the disclosure statement filed by Logistics; proceeds with the final approval of

        Debtor’s disclosure statement; and impose severe sanctions upon Logistics for the false

        representations made to the Court.


              CERTIFICATE OF SERVICE:               I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,

        which will send notification of such filing to the Assistant US Trustee, and all

        participants of CM/ECF.


              San Juan, Puerto Rico, this 24th day of March, 2019.


                                                 s/ Alexis Fuentes-Hernández, Esq.
                                                 Alexis Fuentes-Hernández, Esq.
                                                 USDC-PR 217201

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